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JOHN W. HUBER, United States Attorney (#7226)                                   !LED
VERNON STEJSKAL, Assistant United States Attorney (#8434)                 r1•--'T\:·1cT   r;(l!JRT
Attorneys for the United States of America
111 South Main Street, #1800
Salt Lake City, Utah 84111
Telephone: (801) 524-5682


                    IN THE UNITED STATES DISTRICT COURT
                     DISTRICT OF UTAH, CENTRAL DIVISION




UNITED STATES OF AMERICA,                           INDICTMENT

                 Plaintiff,
                                                    VIOL. 21 U.S.C. § 841(a)(l)
       vs.
                                                    Possession of Fentanyl with Intent to
AARON MICHAEL SHAMO,                                Distribute

                Defendant.
                                                    Case: 2:16-cr-00631
                                                    Assigned To : Kimball, Dale A.
                                                    Assign. Date: 12/7/2016
                                                    Description: USA v.
The Grand Jury Charges:

                                       COUNT 1
                                 [21 U.S.C. § 841(a)(l)]
                  [Possession of Fentanyl with Intent to Distribute]


      On or about November 22, 2016, in the Central Division of the District of Utah,

                              AARON MICHAEL SHAMO,

the named defendant herein, did knowingly and intentionally possess with intent to

distribute fentanyl, a Schedule II controlled substance, within the meaning of 21 U.S.C. §
         Case 2:16-cr-00631-DAK-PMW Document 11-1 Filed 12/07/16 Page 2 of 2




    812; all in violation of 21 U.S.C. §841(a)(l), and punishable pursuant to 21 U.S.C.

    §841(b )(l)(C).

                 NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

              As a result of committing the felony offense in Count 1 of this indictment, which is

    punishable by imprisonment for more than one year, the above named defendant shall forfeit to

    the United States pursuant to 21 U.S.C. § 853 any and all property constituting or derived from

    any proceeds the defendant obtained directly or indirectly as a result of the said felony offense

    and any and all property, real and personal, used or intended to be used in any manner or part to

    commit and to facilitate the commission ofa violation of21U.S.C.§84l(a)(l), and any property

    traceable thereto, including but not limited to the following:

    CURRENCY

    $1,227,773.00 in United States Currency

    $19,520.00 in United States Currency

    AUTOMOBILES

    A 2011 Ford F-350 pickup, VIN#lFT8W3BT7BEC88017

    A 2008 BMW 135i, VIN#WBAUC73508VF25535




                                                            /S/
                                                  FOREPERSO              IB~ND JURY

,   ~~W.HUBER

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    VERNON STEJSKAL
    Assistant United States Attorney
